                      EXHIBIT
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

ALVIN HAWKINS, on behalf of      )
himself and all others similarly )                  Case No. 3:21-cv-00266
situated,                        )
                                 )
     Plaintiff,                  )                  Chief Judge Crenshaw
                                 )
v.                               )                  Magistrate Judge Holmes
                                 )
MIDDLE TENNESSEE PIZZA, INC.;    )                  JURY DEMAND
PATRICIA HOUSEMAN; DOE           )
CORPORATION 1-10; JOHN DOE 1-10, )
                                 )
     Defendants.                 )


                      SETTLEMENT AGREEMENT AND RELEASE


        This Settlement Agreement and Release (the “Agreement” or the “Settlement”) is entered
into by and between Plaintiff Alvin Hawkins (“Plaintiff” or “Named Plaintiff”)”), individually and
on behalf of all similarly-situated individuals identified in Section 1(B) below (the “Collective
Members”) and, on the other hand, Middle Tennessee Pizza, Inc. and Patricia Houseman
(collectively “Defendants”). Defendants and Plaintiff will be collectively referred to as the
“Parties.”

The Parties agree as follows:

1. Purpose and Background

   A. On March 31, 2021, Plaintiff initiated the lawsuit Alvin Hawkins, on behalf of himself and
      those similarly situated v. Middle Tennessee Pizza, Inc. et al. (the “Lawsuit”), which is
      currently pending in the United States District Court, Middle District of Tennessee (the
      “Court”), civil action number 3:21-cv-00266.

   B. The Parties seek to resolve all claims raised in the Lawsuit. For purposes of this Agreement,
      the Parties have agreed to the following settlement collective:

               All current and former Delivery Drivers employed by Middle
               Tennessee Pizza, Inc. from May 10, 2018 to November 3, 2021 who
               filed a Consent to Join form in this Lawsuit prior to November 3,
               2021.



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   C. Defendants deny Plaintiff’s allegations in the Lawsuit and deny that they are liable or owe
      damages to anyone with respect to the alleged facts or causes of action asserted in the
      Lawsuit. Nonetheless, without admitting or conceding liability, wrongdoing, or damages,
      Defendants have agreed to settle the Lawsuit on the terms and conditions set forth in this
      Agreement, to avoid the burden, expense, and uncertainty of continuing the Lawsuit.

   D. The purpose of this Agreement is to conclusively and finally resolve all of the Plaintiff’s
      and the Collective Members’ claims and the claims of any Late Claimants who choose to
      make a claim against the Reserve Fund against Defendants that were raised or arise out of
      the facts alleged as part of the Lawsuit and occurred during the Release Period.

   E. The Parties agree and understand that this Agreement is part of a collective settlement, and
      that this Agreement is neither valid nor enforceable unless the Court enters a written Order
      approving this Agreement. If the Court does not finally approve this Agreement, then this
      Agreement is null and void and the Parties revert to status quo ante as more fully described
      in Section 8 below.

   F. The statute of limitations under the Fair Labor Standards Act, 29 U.S.C. § 201 et seq., shall
      continue to run for Delivery Drivers who did not opt-in to the Lawsuit.

2. Opportunity to Negotiate, Consider, and Consult with Counsel

   A. The terms of this Agreement are the product of lengthy, arms-length negotiations between
      the Parties. The negotiations included a full-day private mediation with former Magistrate
      Judge for the United States District Court for the Eastern District of Virginia, F. Bradford
      Stillman, Esquire (the “Mediator”) on November 3, 2021 via video conference.

   B. The Parties agree that the consideration given to support the obligations under this
      Agreement is adequate and sufficient in all respects and that the Parties have not received
      or been made any promise, inducement, or concession not set forth in this Agreement in
      support of the obligations imposed.

   C. The Parties acknowledge that they have been represented by competent counsel throughout
      the negotiation of this Agreement and the Lawsuit.

3. Definitions

      The terms set forth herein shall have the meanings ascribed to them below:

      “Collective Members” mean all current and former Delivery Drivers employed by Middle
      Tennessee Pizza, Inc. during the Release Period who filed a Consent to Join form in this
      Lawsuit prior to November 3, 2021, including Plaintiff.


      “Release Period” means the period from May 10, 2018 through November 3, 2021.



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   “Claims Administrator” or “Administrator” means CAC Services Group, LLC.

   “Collective Fund” means the $185,000 allocated to resolve the claims asserted by the
   Collective Members, including claims for attorneys’ fees, costs, expenses, service awards,
   and claims administration costs.

   “Net Collective Fund” means the net amount of the Collective Fund for distribution to the
   Collective Members after accounting for payment of court-approved attorneys’ fees, costs,
   expenses, service awards, and claims administration costs attributable to the Collective
   Fund.

   “Complaint(s)” means the Complaint in the Lawsuit on March 31, 2021 and any amended
   complaints filed thereafter.

   “Reserve Fund” means the $15,000 Reserve Fund allocated to resolve the claims asserted
   by Late Claimants, including claims for attorneys’ fees, costs, expenses, service awards,
   and claims administration costs. The Reserve Fund will be controlled by the Claims
   Administrator subject to the terms of this Agreement, the Court’s Orders for Final
   Approval, applicable law and any customary agreement entered into by the Parties through
   their counsel.

   “Net Reserve Fund” means the net amount of the Reserve Fund for distribution to the
   Late Claimants and to Collective Counsel after accounting for payment of court-approved
   costs, expenses, service awards, and claims administration costs attributable to the Reserve
   Fund. Unlike the Net Collective Fund, the Net Reserve Fund contains attorneys’ fees
   because the attorneys’ fees attributable to the Reserve Fund will not be distributed unless
   and until a Late Claimant makes a claim against the Reserve Fund.

   “Defendants” means Middle Tennessee Pizza, Inc. and Patricia Houseman.

   “Defendants’ Counsel” means Fisher & Phillips LLP.

   “Eligible Reserve Fund Participant(s)” means any Delivery Driver employed by
   Defendants during the Release Period who did not return a consent to join form before
   November 3, 2021 and therefore did not or will not receive a payment from the Collective
   Fund.

   “Final” means that the Court has granted a Final Approval Order and either: (a) the
   applicable date for seeking appellate review of the Final Approval Order has passed
   without a timely appeal; (b) an appellate court has rendered a final decision or judgment
   affirming the Court’s Final Approval Order without material modification, and the time for
   any further appeal has expired; or (c) any timely appeal has been dismissed.

   “Late Claimant” means any current and former Delivery Drivers employed by Defendants
   during the Release Period who makes a claim against the Reserve Fund.



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   “Lawsuit” means Alvin Hawkins, on behalf of himself and those similarly situated v.
   Middle Tennessee Pizza, Inc. (the “Lawsuit”), which is currently pending in the United
   States District Court, Middle District of Tennessee (the “Court”), civil action number 3:21-
   cv-00266.

   “Miles Driven” means the amount of miles driven, as determined by Defendants’ business
   records, by relevant Delivery Drivers from the date three years before the Delivery Driver
   filed their Consent to Join Form or submitted a claim against the Reserve Fund until
   November 3, 2021.

   “Named Plaintiff” or “Plaintiff” means Alvin Hawkins, and includes any and all of his
   representatives, heirs, administrators, executors, beneficiaries, agents, attorneys, and
   assigns, as applicable and without limitation.

   “Opt-In Collective Member” means each Collective Member and Late Claimant,
   including Named Plaintiff, and includes any and all of his/her/their representatives, heirs,
   successors, administrators, executors, beneficiaries, agents, attorneys, and assigns, as
   applicable and without limitation.

   “Parties” means the Named Plaintiff, the Collective Members, and Defendants.

   “Plaintiff’s Counsel” or “Collective Counsel” means Biller & Kimble, LLC and Barrett
   Johnston Martin & Garrison, LLC.

   “Final Approval Order” means the entry of the Order by the Court granting approval of
   the Settlement.

   “Qualified Settlement Fund” or “QSF” means the account established by the Claims
   Administrator into which Defendants will deposit the portion of the Settlement Amount
   necessary to pay: (1) the Claims Administrator’s fees and costs; (2) Court-approved
   attorneys’ fees and costs for Plaintiff’s Counsel; (3) Court-approved Service Awards as
   specified herein and approved by the Court; (4) the claims of all Collective Members; and
   (5) the Reserve Fund. The QSF will be controlled by the Claims Administrator subject to
   the terms of this Agreement, the Court’s Orders for Final Approval, applicable law and any
   customary agreement entered into by the Parties through their counsel.

   “Released Parties” means Middle Tennessee Pizza, Inc., Patricia Houseman, and any
   related entities, along with all respective owners, members, stockholders, franchisors,
   including Domino’s Pizza, LLC (and its related entities), predecessors, successors, assigns,
   agents, directors, officers, employees, representatives, attorneys, parent companies,
   divisions, insurers, subsidiaries, affiliates, insurance carriers and all persons acting by,
   through, under or in concert with them.

   “Settlement” means the settlement of the Lawsuit pursuant to the terms of this Agreement.




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      “Settlement Amount” means the sum of Two Hundred Thousand and 00/100 Dollars
      ($200,000.00), which Defendants have agreed to pay to fully and finally resolve the
      Lawsuit and claims of the Plaintiff, the Collective Members, and any Late Claimants,
      subject to the terms herein and to Court approval. The Settlement Amount shall be payable
      fourteen (14) days after the Final Approval Order becomes Final.


4. Settlement and Disbursement

   A. To settle the Lawsuit, and in consideration of the release of claims and dismissal of the
      Lawsuit against Defendants with prejudice, Defendants’ total aggregate payments under
      this Settlement shall under no circumstances exceed the Settlement Amount, or Two
      Hundred Thousand and 00/100 Dollars ($200,000.00). The Total Settlement Amount will
      be split into two funds: $185,000 will be allocated to the claims of the Collective Members,
      and $15,000 will be allocated to the claims of Late Claimants who decide to participate in
      the Settlement after the Court has approved it. The Settlement Amount accounts for all
      payments to settle the claims asserted in the Lawsuit by Plaintiff and Opt-In Plaintiffs, as
      well as any claims asserted by Late Claimants, including all expense reimbursements,
      unpaid wages, improper deductions and withholdings, tip credit and tip credit notice
      violations, liquidated damages, interest, attorney’s fees, expenses, taxes, claims
      administration fees, and service awards as set forth in the Release (Section 6), up to and
      including the end of the Release Period. The Settlement Amount shall be payable within
      fourteen (14) days after the Final Approval Order becomes Final (assuming no appeals are
      pursued, this will be 45 days after the Final Approval Order).

   B. Retention and Payment of Claims Administrator. The Parties will retain the Claims
      Administrator to establish and maintain the QSF and disburse the settlement payments
      described herein. Prior to mailing checks to the Collective Members, the Claims
      Administrator will run all names, addresses, and/or social security numbers through the
      National Change of Address Database to update any addresses. The Claims Administrator
      will be further responsible for responding to Collective Member and Late Claimant
      inquiries; resolving disputes relating to individual Collective Members’ and Late
      Claimants’ individual settlement payments not resolved by Counsel; reporting on the state
      of the settlement to the Parties; distributing the Service Award; calculating the Collective
      Members’ and Late Claimants’ individual settlement payments in accordance with the
      Settlement and the Court’s Final Approval Order; calculating the payments for Collective
      Members and Late Claimants who file claims against the Reserve Fund; distributing
      Settlement Checks to individual Collective Members and Late Claimants; preparing and
      filing all required tax documentation; preparing a declaration regarding its due diligence in
      the claims administration process; providing counsel with any information related to the
      administration of the Settlement upon request; administering the Reserve Fund and
      distributing any proceeds remaining in accordance with the Final Approval Order; and
      performing such other duties as the Parties may jointly direct or as are specified herein.
      The Claims Administrator will also be responsible for locating Collective Members and
      Late Claimants whose checks may be returned undeliverable by taking reasonable steps to



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   find updated contact information, including but not limited to contacting the Collective
   Member or Late Claimant by telephone or email.

      i.   All fees and costs of the Claims Administrator shall be deducted from and paid out
           of the Settlement Amount. The Claims Administrator’s fees and costs will be
           deducted from the Collective Fund and the Reserve Fund on a prorated basis.

     ii.   The Claims Administrator will provide regular reports to the Parties regarding the
           status of the Settlement administration process, the substance and status of disputes
           (if any) raised by Collective Members and Late Claimants regarding the calculation
           of settlement amounts, distribution of the individual settlement checks, and
           administration of the QSF, Collective Fund, and Reserve Fund.

    iii.   In the event of a dispute regarding an individual Collective Member’s or Late
           Claimant’s settlement payment, the Claims Administrator shall promptly report the
           nature of the dispute to Plaintiff’s Counsel and Defendants’ Counsel, who will
           confer in good faith with the Claims Administrator in an effort to resolve the
           dispute. In the event that Plaintiff’s Counsel and Defendants’ Counsel are unable
           to reach an agreement, they shall present the issue to the Claims Administrator who
           shall decide the dispute and whose decision shall be final and binding on the Parties.

    iv.    The Parties and Counsel agree to cooperate with the Claims Administrator, provide
           accurate information, to the extent reasonably available, necessary to calculate the
           individual Opt-In Collective Members’ settlement payments, and assist the Claims
           Administrator in locating Collective Members and/or Late Claimants. This includes
           that within fourteen (14) days of the Court’s entry of a Final Approval Order:
           Defendants will transmit to the Administrator and to Collective Counsel the miles
           driven by each Collective Member during the Release Period and each Collective
           Member’s social security number; and Collective Counsel, to the extent available,
           will transmit to the Administrator and Defendants’ Counsel the last known mailing
           addresses, last known email addresses, and last known phone numbers of the
           Collective Members. Within ten (10) days of being notified of a claim by any Late
           Claimant, the parties will also provide the above information as to such Late
           Claimant(s), as applicable, and Defendants will provide all miles driven by such
           Late Claimant(s) during the release period.

C. The Settlement Amount shall be divided into two funds to pay claims as follows:

      i.   The QSF will be funded with $200,000. $185,000 is to be allocated to the claims
           of the Collective Members (the “Collective Fund”) and $15,000 is to be allocated
           to the claims of potential Late Claimants (the “Reserve Fund”).

     ii.   First, any amounts allocated for Claims Administrator fees or costs, and any court-
           approved advanced litigation costs, incentive awards, and attorneys’ fees will be
           deducted from the Settlement Amount on a pro rata basis between the two funds.
           Since the Collective Fund makes up 92.5% of the Settlement Amount, 92.5% of the
           Claims Administrator fees or costs, and any court-approved advanced litigation

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           costs, incentive awards, and attorneys’ fees will be deducted from the Collective
           Fund. Because the Reserve Fund makes up 7.5% of the Settlement Amount, 7.5%
           of the Claims Administrator fees or costs, and any court-approved advanced
           litigation costs, incentive awards, and attorneys’ fees will be deducted will be
           deducted from the Reserve Fund.

                a) The Claims Administrator fees or costs, and any court-approved advanced
                   litigation costs, and incentive awards attributable to both the Collective
                   Fund and the Reserve Fund will be paid out from the two funds at the
                   same time as the Collective Members receive their award amounts, 14
                   days after the Settlement becomes Final (i.e., at the same time that the
                   Collective Members receive their individual award amounts).

                b) The court-approved attorneys’ fees attributable to the Collective Fund will
                   also be paid out within 14 days after the Settlement becomes Final.

                c) The court-approved attorneys’ fees attributable to the Reserve Fund will
                   be paid out at the same time as and in proportion to any payments made
                   to Late Claimants from the Reserve Fund (e.g., if a Late Claimant entitled
                   to 10% of the Reserve Fund is paid from the Reserve Fund on June 1,
                   2023, Class Counsel will receive 10% of the attorneys’ fees awarded by
                   the Court from the Reserve Fund on the same date).

    iii.   The Net Collective Fund will be distributed to the Collective Members as follows:

                a) Each Collective Member’s check will be equal to the Collective
                   Member’s prorated share of the Collective Fund based on the miles driven
                   by each Collective Member during the Release Period, divided by the total
                   miles driven by all Collective Members during the Release Period, with a
                   minimum payment of $50.00.

                b) Within 14 days of the Final Approval Order of the Court becoming Final,
                   the Administrator will issue a check to each Collective Member according
                   to the above formula.

                c) Checks from the FLSA Collective Fund may be cashed or negotiated
                   within 180 days of being issued. After 180 days, the check will be void.
                   The face of each check will contain the following language: “Void after
                   180 days.”

                d) Opt-In Plaintiffs may request that the Administrator void and reissue
                   checks and the Administrator shall void and reissue said checks within 7
                   days after notifying Collective and Defendants’ Counsel, unless a dispute
                   arises. Opt-In Plaintiffs who have requested that their checks be voided
                   and reissued shall bear any increased claims administration fees or fees
                   incurred (e.g., bank stop payment orders).

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               e) The Claims Administrator will hold any uncashed amounts from the
                  Collective Fund in the QSF until November 3, 2024. Until November 3,
                  2024, Collective Members may request that the Administrator reissue
                  stale checks (i.e., checks that were not cashed within 180 days) and the
                  Administrator shall reissue said checks 7 business days after Notice to
                  Collective Counsel and Defendants’ Counsel unless a dispute arises.

               f) If any unclaimed funds remain as of November 3, 2024, those funds will
                  be distributed to Middle Tennessee Pizza, Inc. within 7 business days,
                  except for funds related to the re-issuance of any check to a Collective
                  Member, which shall be held for 180 days after the re-issuance of the
                  check, and any uncashed amount to be distributed to Middle Tennessee
                  Pizza, Inc. within 7 business days thereafter.

    iv.   The Net Reserve Fund shall be established and maintained until November 3, 2024
          so that Eligible Reserve Fund Participants can claim a share of it if they so choose.

          a)     Eligible Reserve Fund Participants have the option to, but are not required
                 to, participate in the Reserve Fund as Late Claimants. Late Claimants who
                 elect to participate in the Reserve Fund will receive payment in an amount
                 equal to the Late Claimant’s potential prorated share of the Collective Fund
                 had the Late Claimant filed a timely consent to join, but proportionately
                 reduced by that amount time-barred by the statute of limitations, as set forth
                 herein; provided, however, that the claim is not barred by the statute of
                 limitations at the time it is submitted to the Administrator.

          b)     When the Administrator issues a check to a Late Claimant, the
                 Administrator shall also issue a check to Plaintiff’s Counsel from the
                 Reserve Fund. The attorneys’ fees will be calculated by determining the
                 Late Claimant’s pro rata share of the Reserve Fund and applying that
                 percentage share to the attorneys’ fees award by the Court from the Reserve
                 Fund.

          c)     Eligible Reserve Fund Participants may make a request or claim against the
                 Reserve Fund via email, U.S. mail, or through Collective Counsel by
                 providing their name and social security number (or if social security
                 number is not available, such other form of identification as reasonably
                 requested by the Administrator or Defendants to confirm identity). The
                 Administrator and Defendants (or their counsel) may request additional
                 identifying information reasonably necessary to confirm the identity of the
                 Late Claimant and status as an Eligible Reserve Fund Participant.

          d)     To the extent that there is a dispute regarding any part of this process, the
                 Parties and their Counsel will attempt to informally resolve the dispute. If
                 informal resolution is unsuccessful, the Parties request the assistance of the

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                    Claims Administrator, or if the Claims Administrator cannot resolve the
                    dispute, the Parties shall submit the dispute to the Court for assistance in
                    reaching resolution.

            e)      Any unclaimed amounts in the Reserve Fund as of November 3, 2024 will
                    be distributed to Middle Tennessee Pizza, Inc. within 7 business days,
                    except that the Administrator will hold any funds related to any re-issued
                    checks for 180 days after the check was issued, then distribute any
                    remaining amounts to Middle Tennessee Pizza, Inc. within 7 business days
                    thereafter.

      v.    Each check paid to a Collective Member or Late Claimant will be treated as expense
            reimbursement up to the IRS rate, which shall be the then-in-effect IRS rate, or as
            required by law. Any amounts paid above that will represent liquidated damages
            and will not be considered wages or subject to withholding. A Form 1099 will issue
            to Collective Members and Late Claimants for monies paid as liquidated damages.

 D. The Parties are responsible for ensuring their own proper tax treatment of the payments. In
    addition to the Settlement Fund, Defendants will be responsible for their own portion of
    employer taxes (e.g., FICA, FUTA, unemployment insurance), if any, arising from this
    Agreement. The Parties also agree and understand any payments under this Agreement are
    not intended to, and will not form the basis for, nor shall they be considered wages for
    calculating, or re-calculating, additional contributions to, or benefits under, any benefit or
    compensation plans maintained by the Defendants for the benefit of their employees and
    their employees’ beneficiaries. Opt-In Collective Members will be responsible for their
    individual payroll taxes, if any, that are normally withheld from their wages. Those
    amounts, if any, will be withheld by the Claims Administrator and remitted by the Claims
    Administrator to the proper taxing authorities.

 E. The Court shall retain continuing jurisdiction over the Settlement. In the event that
    Plaintiff, Collective Counsel, and/or Opt-In Collective Members believes he/she/they must
    petition the Court with regard to an alleged breach by Defendants’ failure to make one or
    more payments as outlined above, Plaintiff and Opt-In Collective Members shall notify
    Defendants’ Counsel of the issue. Defendants will then have fourteen (14) days to cure the
    failure or issue. The Parties may agree to extend this 14-day cure period, if reasonably
    warranted under the particular circumstances. If Defendants do not cure the failure or issue,
    Plaintiff, Collective Counsel, and/or Opt-In Collective Members can request from the
    Court an entry of judgment against Defendants jointly and severally for the amount
    suffered as a result of the alleged breach of the Settlement Agreement (including
    corresponding approved attorneys’ fees) plus applicable interest. Further, in the event they
    prevail, Plaintiff, Collective Counsel, and/or the Opt-In Collective Members will be
    entitled to recover reasonable attorneys’ fees and costs associated with obtaining such a
    judgment and its enforcement as approved the Court. In the event that such a motion is
    unsuccessful and deemed frivolous, Defendants may seek reasonable attorney’s fees
    incurred in defense of such a motion.



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      In the event that Plaintiff, Class Counsel, Class Members, Defendants or Defendants’
      Counsel believe that she/they must petition the Court to enforce, implement, or interpret
      this Agreement (except with regard to failure to pay described above), said party or counsel
      shall provide notice to opposing counsel of the issue. The Parties will then have fourteen
      (14) days to address the issue prior to engaging the Court. The Parties may agree to extend
      this 14-day period, if reasonably warranted under the particular circumstances.

   F. All payments set forth in this Section 4 are subject to Court approval of the Settlement.

5. Attorneys’ Fees, Service Award, Settlement Administration, and Expenses

   A. Defendants agree not to object to an award of attorneys’ fees, costs, and service award
      equal to or less than the following amounts:

         i.   Subject to Court approval, Class Counsel will receive up to one-third (1/3) of the
              Collective Fund, or $61,666.67, as attorneys’ fees. 92.5% of the total amount of
              attorneys’ fees awarded by the Court, attributable to the Collective Fund, will be
              payable fourteen (14) days after the Final Approval Order has become Final. The
              remaining attorneys’ fees awarded by the Court, attributable to the Reserve Fund,
              will be payable at the same time as any payments made to Late Claimants, as
              detailed above.

        ii.   Subject to Court approval, reimbursement of advanced litigation expenses incurred
              by Collective Counsel in this matter. These amounts will be deducted from the
              Collective Fund and the Reserve Fund on a pro rata basis, and will be payable
              within 14 days of the Settlement becoming Final.

       iii.   Subject to Court approval, and in addition, reasonable costs related to the claims
              administration costs for a Claims Administrator retained by the Parties. These
              amounts will be deducted from the Collective Fund and the Reserve Fund on a pro
              rata basis, and will be payable within 14 days of the Settlement becoming Final.

       iv.    Subject to Court approval, a service award in the aggregate amount of Seven
              Thousand Five Hundred and 00/100 Dollars ($7,500) to Named Plaintiff. In
              exchange for Defendants’ non-opposition to the individual service award, Named
              Plaintiff agrees to execute a separate settlement agreement containing a general
              release of claims, attached as Exhibit 1. This amount will be deducted from the
              Collective Fund and the Reserve Fund on a pro rata basis, and will be payable
              within 14 days of the Settlement becoming Final.

   B. This Agreement is not contingent on the Court approving the amount of attorneys’ fees and
      costs noted above. In the event that the Court does not approve the above amounts of
      attorneys’ fees costs, or service awards or reduces any of those amounts, the finding will
      not be a basis for rendering any unrelated section of the Agreement null, void, or
      unenforceable. Collective Counsel retain their right to appeal any decision by the Court
      regarding the attorneys’ fees and costs and such appeal will not be deemed an appeal of

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      this Agreement or the Settlement, and any payments to be made under the Settlement will
      be stayed pending the appellate review until the Settlement is Final. The merits and
      substance of the Settlement will be approved by the Court separately and independently of
      the Court’s decisions regarding Class Counsel’s application for attorneys’ fees and costs.
      The amounts attributable to any such reduction shall be held in the Reserve Fund and
      subject to the terms of this agreement with regard to the Reserve Fund.

      .

   C. The Parties will retain a Claims Administrator and will seek approval of claims
      administration costs in an amount to be deducted from the Settlement Fund.

6. Release

   A. The term “Released Parties” includes Middle Tennessee Pizza, Inc. and Patricia Houseman
      and any related entities, along with all respective owners, members, stockholders,
      franchisors, including Domino’s Pizza, LLC (and its related entities), predecessors,
      successors, assigns, agents, directors, officers, employees, representatives, attorneys,
      parent companies, divisions, insurers, subsidiaries, affiliates, insurance carriers and all
      persons acting by, through, under or in concert with them.

   B. Each Opt-In Collective Member who cashes or negotiates a settlement check releases all
      wage and hour claims against the Released Parties accrued from three (3) years prior to the
      date the Opt-In Collective Member filed a Consent to Join form in this Lawsuit (or from
      the date when one was filed on his or her behalf), or made a claim to receive money from
      the Reserve Fund, through November 3, 2021, arising out of the facts asserted in the
      Lawsuit, including claims relating to failure to pay wages, the under-reimbursement of
      mileage and any other business expenses, unlawful deductions, “dual jobs/80-20” claims,
      tip credit notice claims, wage notification, posting, deduction, withholdings, recordkeeping
      and paycheck claims, untimely payment claims, and any related common law and equitable
      claims (e.g., breach of contract, unjust enrichment, etc.), including any related claims for
      liquidated damages, penalties, attorneys’ fees and costs (including claims administration
      fees), taxes (if applicable), service awards, and interest, that could be pursued under the
      Fair Labor Standards Act, 29 U.S.C. § 201 et seq., the wage and hour laws of Tennessee,
      and any applicable federal, state, local or municipal law or regulation, whether known or
      unknown; and any and all derivative claims relating to unpaid wages, minimum wage or
      overtime compensation against the Defendants or Released Parties relating to the facts
      asserted in this Lawsuit.

   C. The back of each settlement check issued to any Late Claimant will contain the following
      release:

              By cashing or negotiating this check, I have agreed to join the lawsuit Alvin
              Hawkins v. Middle Tennessee Pizza, Inc., et al., Case No. 3:21-cv-00266
              (Middle District of Tennessee) (the “Lawsuit”) and agree to be bound to the
              Settlement and Release Agreement in the Lawsuit. I irrevocably and

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              unconditionally waive, release, extinguish, acquit, and forever discharge
              any claim I may or might have against Defendants or any of the Released
              Parties (as defined by the Settlement and Release Agreement) for the wage
              and hour claims that were asserted in the Lawsuit or arising out of the facts
              asserted in the Lawsuit, which accrued at any time between three (3) years
              prior to the date the Late Claimant claimed from the Reserve Fund to the
              date I claimed from the Reserve Fund, including claims arising out of the
              facts asserted in the Lawsuit, claims relating to failure to pay wages, the
              under-reimbursement of mileage and any other business expenses, unlawful
              deductions, “dual jobs/80-20” claims, tip credit notice claims, wage
              notification, posting, deduction, withholdings, recordkeeping and paycheck
              claims, untimely payment claims, and any related common law and
              equitable claims (e.g., breach of contract, unjust enrichment, etc.), including
              any related claims for liquidated damages, penalties, attorneys’ fees and
              costs (including claims administration fees), taxes (if applicable), service
              awards, and interest, that could be pursued under the Fair Labor Standards
              Act, 29 U.S.C. § 201 et seq., the wage and hour laws of Tennessee, and any
              applicable federal, state, local or municipal law or regulation, whether
              known or unknown; and any and all derivative claims relating to unpaid
              wages, minimum wage or overtime compensation against the Defendants or
              Released Parties relating to the facts asserted in this Lawsuit. If required by
              the Court, I acknowledge that a copy of this check can be filed as my consent
              to become a party to this Lawsuit and by bound by the Settlement and
              Release Agreement in the Lawsuit.

   D. The Parties recognize and agree the terms of this Settlement and the scope of the release
      are intended to provide for complete res judicata and collateral estoppel effect for any
      claims by or on behalf of Opt-In Collective Members encompassed by the release set forth
      in Paragraph 6 of this Agreement.

   E. If the Court requires Late Claimants’ checks to be filed as a condition of participating in
      this Settlement and joining the action as a party plaintiff under 29 U.S.C. 216(b), then
      Defendants must file with the Court a copy the cancelled checks.

7. Administration Procedure and Timeline

Subject to Court approval, the Parties agree to the following timeline for the completion of the
settlement process and dismissal of the Action:

   A. Motion for Settlement Approval: Plaintiff will draft a Motion for Settlement Approval.
      Plaintiff will provide Defendants’ Counsel with a copy of the Motion (including any
      supporting brief) and proposed Order, as further detailed below, prior to filing. Defendants
      will have fourteen (14) days to provide comments and suggested edits to the Motion.
      Plaintiff will not unreasonably reject Defendants’ proposed edits, corrections, and
      comments. As soon as practicable after the conclusion of the 14-day commenting period,
      Plaintiff will file the Motion for Settlement Approval. Notwithstanding the foregoing,

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    neither party waives any rights they may have to seek judicial intervention to resolve any
    disagreements related to the Motion for Settlement Approval.

 B. Production of Collective Data: Within fourteen (14) days of the Court’s Final Approval
    Order, Defendants will transmit to the Administrator and to Collective Counsel the miles
    driven by each Collective Member and each Collective Member’s social security number;
    and Collective Counsel, to the extent available, will transmit to the Administrator and
    Defendants’ Counsel the last known mailing addresses, last known email addresses, and
    last known phone numbers of the Collective Members. Defendants and Plaintiff’s Counsel
    shall provide additional information to the Claims Administrator to the extent reasonably
    requested in connection with administration of the settlement, including providing such
    similar information for any Late Claimant, as applicable and necessary, including
    Defendants providing all miles driven by such Late Claimant during the release period
    within ten (10) days of being notified of a claim by a Late Claimant. Within ten (10) days
    of being notified of a claim by any Late Claimant. The Parties acknowledge and agree that
    neither will use any such information for any purpose other than in connection with
    administration of the settlement, specifically including any advertisement or solicitation
    efforts, and shall only be used for purposes directly related to the effectuation of this
    Settlement.

 C. Payment Calculation for Collective Members: Within seven (7) days of the Defendants’
    transmission of the above information, the Administrator will calculate amounts due to the
    Collective Members under the agreement and the Court’s Order, and provide those
    calculations to Defendants’ Counsel and Collective Counsel. Counsel will promptly
    provide the Administrator with any corrections or changes to those calculations.

 D. QSF Funding: Within fourteen (14) days of the Administrator transmitting the above
    payment information, Defendants will transmit to the Administrator the Settlement
    Amount ($200,000).

 E. Payment: Within ten (10) days of the Defendants transmitting the above payment, but no
    sooner than fourteen (14) days after the Final Approval Order has become Final, the
    Administrator will send to Collective Members and Collective Counsel the checks
    consisting of all amounts due under this Settlement Agreement relating to the Collective
    Members, the Court-approved service award, and Court-approved attorneys’ fees and
    costs.

 F. Proposed Order of Dismissal with Prejudice: Upon the filing of the Motion for Settlement
    Approval, the Parties will submit a proposed Order in a mutually agreeable form (i)
    approving the Settlement, adjudging the terms thereof to be fair, reasonable, and adequate,
    and directing consummation of its terms and provisions; (ii) approving the Collective
    Counsel’s motion for attorneys’ fees and expenses; (iii) approving the Service Award to
    Plaintiff (iv) approving the Claims Administrator’s fees and costs; and (v) dismissing this
    action with prejudice.




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     G. Unclaimed Collective Funds to be held in the QSF: The Claims Administrator shall hold
        all funds attributable to uncashed checks in the QSF in the Collective Fund until November
        3, 2024.

     H. Reserve Fund Claim Period: Until November 3, 2024, Eligible Reserve Fund Participants
        are permitted to make a claim for a portion of the Reserve Fund. The distribution of the
        Reserve Fund is described herein.

     I. Undeliverable Collective Member Checks: If any checks are returned to the Administrator
        as undeliverable with a forwarding address, the Administrator will forward the payment to
        the forwarding address. If any checks are returned as undeliverable without a forwarding
        address, the Administrator will attempt to run the Collective Member’s through a skip trace
        to attempt to obtain an updated address. If the Administrator is able to obtain an updated
        address, the Administrator will forward the payment to the updated address, otherwise said
        funds shall be held until November 3, 2024.

8.   Effect of Failure to Grant Approval:

     A. EFFECT OF FAILURE TO GRANT FINAL APPROVAL. The Agreement and
        payment of the Settlement Amount are contingent upon the Court’s approval of the
        Settlement and this Agreement. In the event: (1) the Court fails to enter a Final Approval
        Order approving the Settlement (failure by the Court or an appellate court to award or
        sustain the full amount of the Service Award or Plaintiff’s Counsel’s attorneys’ fees and
        expenses will not constitute failure to approve the Settlement or a material modification of
        the Settlement); and (2) a Party does not seek reconsideration or appellate review of the
        decision denying entry of the Judgment, the Parties will attempt in good faith to renegotiate
        the Settlement to resolve any deficiencies identified by the Court, and seek Court approval
        of the renegotiated settlement. If these good faith negotiations fail, then the Settlement and
        this Agreement will become null and void ab initio. In the event the Settlement and this
        Agreement become null and void:

           i.   The Parties shall have no further rights or obligations under this Agreement or any
                Supplemental Settlement Agreements and the pleadings shall revert to status quo
                ante and Defendants shall maintain all rights and defenses including the right to
                contest certification.

          ii.   The Lawsuit will proceed as if no settlement had ever been reached. In such a case,
                the Parties will negotiate and submit for Court approval a revised case management
                schedule.

         iii.   The Parties will equally share payment of the fees and costs reasonably incurred to
                date by the Claims Administrator.

          iv.   This Agreement (including Exhibits) will not be used for any purpose whatsoever,
                including use in any future Lawsuit, or any other lawsuit, administrative or other
                legal proceeding, claim, investigation, or complaint.


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 9. Other Terms

 A. By entering into this Agreement, Defendants in no way admit to any violation of law or
    any liability whatsoever to Plaintiff, the Collective Members, or any potential Late
    Claimant, all such liability being expressly denied. Defendants deny and continue to deny
    the allegations in the Lawsuit and deny and continue to deny that they are liable or owe
    damages to anyone with respect to the alleged facts or causes of action asserted in the
    Lawsuit. Likewise, by entering into this Agreement, Defendants in no way admit to the
    suitability of this case for collective action treatment, other than for purposes of settlement.

 B. The Parties agree that, by entering into and seeking Court approval of this Agreement,
    Defendants in no way waive any rights, if any, to enforce arbitration agreements entered
    into between Defendants and any Opt-In Collective Member, including the waiver of class
    and collective action litigation, or to enforce similar agreements with other employees.

 C. Settlement of the Lawsuit and all acts performed or documents executed in furtherance of
    this Agreement or the settlement embodied herein: (a) are not, shall not be deemed to be,
    and may not be used as an admission or evidence of any wrongdoing or liability on the part
    of Defendants, or of the truth of any of the factual allegations in any and all Complaints
    filed in the Lawsuit; (b) are not, and shall not be deemed to be, and may not be used as an
    admission or evidence of fault or omission on the part of Defendants in any civil, criminal,
    administrative or arbitral proceeding; and (c) are not, and shall not be deemed to be, and
    may not be used as an admission or evidence of the appropriateness of these or similar
    claims for collective action treatment other than for purposes of administering this
    Agreement. The Parties understand and agree that this Agreement and any exhibit hereto
    are settlement documents and agree that they may not be used in any proceeding involving
    Defendants for any reason, except for enforcing the terms of this Agreement and/or by
    written consent of the opposing party.

 D. The Parties agree to keep the fact and amount of the Settlement confidential until Plaintiff’s
    public filing of the Motion for Settlement Approval, except that the Parties may advise the
    Court of the fact of the settlement, if required, and may communicate with Collective
    Members and Eligible Reserve Fund Participants about the Settlement. Defendants may
    make any necessary disclosures of settlement information for tax, regulatory, or other
    purposes as well as for purposes required by any contractual agreements. Nothing herein
    shall limit Collective Counsel’s ability to practice law and advise clients.

 E. No modifications or amendments to any of this Agreement’s terms, conditions, or
    provisions may be made except by written agreement executed by all Parties. Any material
    changes will be subject to approval by the Court presiding over the Lawsuit.

 F. This Agreement including any exhibits constitute the entire agreement between the Parties,
    and all prior negotiations and understandings between the Parties shall be deemed merged
    into this Agreement.




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 G. This Settlement is binding upon and inures to the benefit of the Parties and their respective
    heirs, trustees, executors, administrators, successors, and assigns.

 H. This Agreement is written jointly by the Parties and may not be construed against any one
    party as the drafter. If any provision(s) of this Agreement are held to be illegal, invalid, or
    unenforceable under present or future laws, any such provision(s) will be curtailed and
    limited only to the extent necessary to bring it within the requirements of the law. In that
    event, the remainder of this Agreement will thereafter be construed and enforced as if the
    illegal, invalid, or unenforceable provision(s) had never comprised a part of the Agreement.
    The remaining provision(s) of the Agreement will continue in full force and effect and will
    not be affected by any illegal, invalid, or unenforceable provision(s) or by their severance.
    To the extent the releases contained in the Agreement are held to be illegal, invalid, or
    unenforceable, the Parties shall proceed as follows:

       i.   Defendants shall be relieved of their payment obligation and the Lawsuit will
            resume unless: (a) a Party seeks reconsideration or appellate review of the decision
            denying approval of settlement, or (b) the Parties attempt to renegotiate the
            settlement and seek Court approval of the re-negotiated settlement.

      ii.   In the event any reconsideration and/or appellate review is denied, the Parties shall
            have no further rights or obligations under this Agreement. The Agreement shall
            be void and the Parties shall revert to their position status quo ante in accordance
            with Section 8 above

 I. The waiver by any party hereto of a breach of any provision of this Agreement will not
    operate or be construed as a waiver of any subsequent breach of any party, nor will any
    waiver operate or be construed as a rescission of this Agreement. No breach of this
    Agreement will permit the non-breaching party to repudiate the Agreement or refuse or fail
    to perform any obligations required hereunder.

 J. Signature of Named Plaintiff. This Agreement is valid and binding if signed by
    Defendants’ authorized representative and the Plaintiff. Named Plaintiff acknowledges
    that he has the authority to execute this Agreement on behalf of the applicable Opt-In
    Collective Members. Named Plaintiff agrees not to object to any of the terms of this
    Agreement. Non-compliance by Plaintiff with this Section shall be void and of no force
    or effect. Any request for exclusion or objection by Plaintiff shall be void and of no force
    or effect.

 K. Tennessee law governs this Agreement’s validity, construction, and enforceability. This
    Court shall retain exclusive jurisdiction to enforce the terms of this Agreement, and all
    Parties submit to the jurisdiction of the Court for purposes of implementing, interpreting,
    and enforcing the terms of the Agreement.

 L. This Agreement may be executed by facsimile or electronically and in multiple
    counterparts, each of which will be deemed an original, but all of which together constitute
    one instrument.

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   M. The Parties agree to promptly take all actions reasonably necessary to effectuate this
      Agreement, including but not limited to motions to the Court for approval of the Agreement
      and continuance of any intervening deadlines contrary to those contemplated by the
      Agreement.

   N. If any deadline under the Agreement falls on a Saturday, Sunday, or federal holiday, the
      Parties agree that the deadline will be deemed to be the next business day.


The undersigned hereby acknowledge and agree to all of the terms, conditions, and provisions of
the above settlement agreement.

______________________________                              _____________
Alvin Hawkins                                               Date
Individually and as Collective Representative for Plaintiff

______________________________                            _____________
On behalf of Middle Tennessee Pizza, Inc.                 Date

______________________________                            _____________
Patricia Houseman, on behalf of herself                   Date




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                       EXHIBIT
                         1




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              SUPPLEMENTAL SETTLEMENT AGREEMENT AND RELEASE

   This Supplemental Settlement Agreement and Release (the “Agreement”) is entered into by
and between Plaintiff Alvin Hawkins (“Hawkins”), on the one hand, and Defendants Middle
Tennessee Pizza, Inc. and Patricia Houseman (“Defendants”)1, on the other.

1.       Purpose: This Supplemental Settlement Agreement and Release supplements and
incorporates the Settlement and Release Agreement to be executed by the Parties and filed with
the Court in the matter of Alvin Hawkins v. Middle Tennessee Pizza, Inc., et al., identified as Case
No. 3:21-cv-00266, and venued in the United States District Court for the Middle District of
Tennessee (“Lawsuit”). The purpose of this Agreement is to fully and conclusively resolve and
settle all matters and claims Hawkins could assert against Defendants and its current or former
parents, franchisors, subsidiaries, affiliates, divisions, predecessors, successors, subrogees,
assigns, benefit plans and related companies (including any entity which Hawkins may allege
jointly employed him), and each and all of their current or former agents, officers, directors,
shareholders, members, employees, representatives, managers, attorneys, successors, predecessors,
administrators, heirs, executors, trustees, assigns and insurers, and all persons acting by, through,
under or in concert with any of them, and each of them, including, but not limited to, any claims for
relief that were made or could have been made by Hawkins in the Lawsuit. It is a further and equal
purpose of this Agreement to resolve any and all disputes, controversies, or claims that Hawkins
may have against Defendants and Released Parties, which arise out of facts or circumstances
occurring in whole or in part on or before the effective date of this Agreement, whether facts
regarding any such claims are presently known or unknown, and regardless of whether same may
be claimed to exist under current or future laws or interpretation of law.

2.      Opportunity to Negotiate, Consider and Consult with Counsel: The terms of this
Agreement are the product of negotiations between the Parties hereto, and the Parties stipulate that
the consideration given to support the obligations of this Agreement is the full consideration agreed
to, and that neither has received any other promises, inducements, or concessions in support of the
duties imposed. In executing this Agreement, Hawkins has not relied on any representation,
compromise, conduct or action made by or on behalf of Defendants or Defendants’ attorneys.
Hawkins acknowledges that he has obtained the advice of competent counsel regarding this
Agreement and agrees that he has been given a reasonable period of time within which to consider
this Agreement. Hawkins and Defendants confirm that they have had this Agreement explained
to them by their respective attorneys, they are relying on their own judgment and on the advice of
their respective attorneys in executing this Agreement, and each confirms their competence to
understand and does hereby accept the terms and conditions of the Agreement.

3.       No Admission of Liability: The Parties stipulate and agree that entry into this Agreement
does not constitute, for any purpose whatsoever, either directly or indirectly, an admission of any
liability, wrongdoing or unlawful conduct whatsoever, whether by omission or commission, by or
on the part of any Party, and that Defendants expressly denies any such liability and conduct.



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         The defined terms included in the Settlement and Release Agreement executed by the Parties are incorporated
by reference herein.


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4.      Consideration: The consideration given to Hawkins under this Agreement and the
Settlement and Release Agreement consists of payment to Hawkins in the amount of Seven
Thousand Five Hundred and 00/100 Dollars ($7,500.00), identified as Hawkins’ Service Award in
the Settlement and Release Agreement, plus Hawkins’ proportionate share of the Collective Fund
as set forth in the Settlement and Release Agreement. The consideration given by Hawkins to
Defendants in support of this Agreement consists of full performance of each and every one of the
respective obligations described in this document.

5.       Release of Defendants and Released Parties: For and in consideration of the required
acts and promises set forth in the text of this Agreement, Hawkins, for himself and his heirs, assigns,
executors, administrators, agents, successors in interest, and legal representatives, hereby knowingly
and voluntarily releases and forever discharges Defendants and Released Parties from any and all
claims, demands, causes of action, complaints, rights, actions, remedies, suits, or charges, known
or unknown, asserted or unasserted, of any kind or character, in tort, in contract, or under any other
law or statute whatsoever, accrued to date, which Hawkins has or might have as a result of, or in
any way connected with Hawkins’ employment or separation of employment with Defendants,
including but not limited to claims under the Fair Labor Standards Act, Title VII of the Civil Rights
Act of 1964, as amended, the Civil Rights Act of 1866 and 1871, the Americans With Disabilities
Act, the Employee Retirement Income Security Act of 1974, as amended, The Consolidated
Omnibus Budget Reconciliation Act of 1985, as amended (“COBRA”), the Family and Medical
Leave Act, the Pregnancy Discrimination Act, the Equal Pay Act of 1973, the Rehabilitation Act
of 1973, the Occupational Safety and Health Act, the Immigration Reform and Control Act, the
Age Discrimination in Employment Act, the Older Workers Benefit Protection Act, the Civil
Rights Act of 1991, 42 U.S.C. § 1981, the Worker Adjustment and Retraining Notification Act of
1988, the National Labor Relations Act, the Constitutions of the United States and State of
Tennessee, the Tennessee Human Rights Act, the Tennessee Disability Act, the Tennessee
Maternity Leave Act, the Tennessee Public Protection Act, and all other local, state or federal laws
including but not limited to those relating to discrimination, harassment, retaliation, denial or
termination of any health benefit or benefits of any other kind, or any claims of breach or violation
of public policy, any claims arising under the Federal or any state constitution, wrongful or
constructive discharge, retaliatory discharge, breach of contract, any and all claims or rights under
federal, state or local laws, regulations or ordinances relating to the payment of wages, bonuses,
overtime, vacation pay, expense reimbursement, incentives, and/or other compensation to employees
(including under the Fair Labor Standards Act 29 U.S.C.§ 201, et seq.), severance pay claims,
promissory estoppel, fraud, fraudulent misrepresentation or concealment, retaliation, breach of the
covenant of good faith and fair dealing, intentional and/or negligent infliction of emotional
distress, outrageous conduct, interference with prospective business advantage, negligence,
negligent misrepresentation or concealment, wrongful or bad faith termination, defamation and
other business or personal injury, or any other claims or rights to damages, whether contractual,
liquidated, compensatory, exemplary, or punitive, or rights to or claims for injunctive or equitable
relief, or rights to or claims for expenses, costs, fees, attorneys’ fees, and all losses of any kind
whatsoever, accrued to date, which Hawkins has or might have by virtue of any fact(s), act(s) or
event(s) occurring prior to the effective date of this Agreement, to the extent permitted by law. By
signing this Agreement, Hawkins promises, covenants and agrees, to the fullest extent permitted by
law, that he will never commence, prosecute or cause to be commenced or prosecuted, any action
or other proceeding based upon any claims, demands, causes of actions, obligations, damages or



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liabilities which are released by this Agreement. Hawkins acknowledges and agrees that, except
as expressly limited in this release, this Agreement releases and precludes any claims of which he is
not now aware and of which he may only become aware at some later date. Nevertheless, Hawkins
fully and freely intends to and does, by executing this Agreement, release any such claims.
Notwithstanding the above, nothing in this release is intended to release or waive rights to any
claim or right which cannot be waived by law, including all claims arising after the effective date
of this Agreement; the right to file a charge with or participate in an investigation conducted by an
administrative agency; the right to enforce this Agreement; any right to COBRA benefits,
unemployment insurance benefits, or vested retirement benefits; nor any existing rights of defense
and indemnity or liability insurance coverage.

6.      Acknowledgment of Receipt of All Payment Owed: Hawkins agrees and acknowledges
that he has received all salary, wages, commissions, Paid Time Off (PTO), overtime payments,
reimbursements, liquidated damages and employee benefits to which Hawkins was and/or is
entitled as a result of Hawkins’ employment with Defendants, and specifically waives, releases
and discharges any right or entitlement he may have to any further compensation or other payments
from Defendants, except as set forth in this Agreement.

7.     Attorneys’ Fees. Subject only to the application for attorney’s fees as set forth in the
Settlement and Release Agreement in connection with the Action, Hawkins expressly
acknowledges and agrees that he alone is responsible and liable for paying any and all attorneys’
fees and related costs and disbursements he has incurred in connection with (i) his prior
employment relationship with Defendants and the termination of that relationship, (ii) the claims
he has asserted or alleged or could have asserted or alleged against Defendants, and (iii) the
negotiation and drafting of this Agreement, and that Defendants has no responsibility or obligation
whatsoever to pay any attorney’s fees, costs or disbursements.

8.       Medicare Reporting Requirements. The Parties have considered Medicare’s interest in this
matter, if any, and Hawkins declares and expressly warrants that he is not Medicare eligible nor within
thirty (30) months of becoming Medicare eligible; is not 65 years of age or older; is not suffering
from end stage renal failure; has not received Social Security benefits for 24 months or longer; and
has not applied for Social Security disability benefits, and/or has not been denied Social Security
disability benefits and appealing the denial; and therefore, no Medicare Set Aside Allocation is being
established. Hawkins attests that the claims released herein are not related to any illness or injury for
which Hawkins would apply or receive Medicare benefits. Hawkins understands that he is required
by law to disclose this information to Defendants and its attorneys in connection with this Agreement.
Hawkins understands that failure to do so may result in penalties being assessed against Hawkins, the
Parties, and attorneys. Hawkins declares and warrants that he is aware of the requirements of the
Medicare Secondary Payer Act (“MSP”), and Hawkins understands that Medicare has an interest in
recovering any benefits paid when it is used as a source of secondary payment. Hawkins therefore
agrees to release, hold harmless, and indemnify Defendants from any remedies, reprisals, or penalties
that result from Hawkins’ failure to disclose or release Hawkins’ status as a Medicare beneficiary. In
the event that any of the above information provided by Hawkins is false or in any way incorrect,
Hawkins shall be solely liable for any and all actions, causes of actions, penalties, claims, costs,
services, compensation or the like resulting from these inaccuracies. Hawkins acknowledges that
Medicare may require him to exhaust the payment in Paragraph 4 on Medicare covered expenses



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should he become Medicare eligible within thirty (30) months. Hawkins waives any claims for
damages, including a private cause of action provided in the MSP, 42 U.S.C. Section 1395(b)(3)(A),
should Medicare deny coverage for any reason, including the failure to establish a set aside allocation
to protect Medicare’s interest.

9.       Knowing and Voluntary Agreement. The Parties to this Agreement acknowledge and agree
that each of them has had a full opportunity to carefully review the terms and provisions of this
Agreement and to review the Agreement with their own attorney, that to the extent they wanted to
talk to an attorney about this Agreement they have availed themselves of that right, and that each
of them enters into this Agreement after appropriate investigation and consideration of the meaning
and effect of the terms of this Agreement and without reliance upon any representation of any other
Party to this Agreement other than those specifically set out herein and that they understand this
Agreement constitutes a final and complete release of all claims against the Party released, regardless
of their kind or character, including any possible claim which might be discovered in the future. By
executing this Agreement, all the Parties represent and agree that they have carefully read and fully
understand all the provisions of this Agreement, and that they are knowingly and voluntarily entering
into this Agreement.


10.     Remedies upon Breach. The Parties acknowledge and agree that, in the event of a breach of
any of the terms or provisions of this Agreement, nothing in this Agreement shall be construed to
preclude or limit any Party from asserting claims or filing a lawsuit for the purpose of: (a) recovering
moneys paid under this Agreement; (b) enforcing rights under this Agreement; or (c) pursuing any
other rights and remedies available under law, including equitable relief, injunctive relief, and
damages.

11.      Interpretation of Agreement. The Parties to this Agreement acknowledge and agree that:
(a) this Agreement and its reduction to final written form are the result of good faith negotiations
between the Parties through their respective counsel; (b) said counsel have carefully reviewed and
examined this Agreement before execution by said Parties, or any of them; and (c) any statute or rule
of construction that ambiguities are to be resolved against the drafting Party shall not be employed in
the interpretation of this Agreement.

12.      Assignability and Binding Effect. This Agreement, and all the provisions contained
herein, shall inure to the benefit of and shall be binding upon the heirs, executors, administrators,
successors and legal representatives of Hawkins, and shall inure to the benefit of and be binding
upon Defendants and its respective successors and assigns. This Agreement may be transferred or
assigned by Defendants. The obligations of Hawkins under this Agreement may not be delegated
and Hawkins may not assign, transfer, or otherwise convey or dispose of this Agreement, or any
of its rights hereunder, and any such attempted delegation, assignment or disposition by Hawkins
shall be null, void, and without effect.

13.    No Changes to Agreement: No modifications or amendments to any of the terms,
conditions, or provisions of this Agreement and the incorporated Settlement and Release
Agreement may be made except by a written agreement executed by all Parties hereto.




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14.    Representations Regarding Claims:

        a.      Hawkins represents that he is not aware of any claims against Defendants other than
those asserted in the Action and acknowledges that he has had the opportunity to discuss this matter
with counsel of his choice, including Barrett Johnston Martin & Garrison LLC and Biller &
Kimble, LLC.

        b.     Hawkins represents and warrants that Hawkins has not sold, assigned, transferred,
conveyed or otherwise disposed of to any third Party, by operation of law or otherwise, any action,
cause of action, debt, obligation, contract, agreement, covenant, guarantee, judgment, damage,
claim, counterclaim, liability, or demand of any nature whatsoever, relating to any matter covered
by this Agreement.

15.     Multiple Originals: This Agreement is executed in multiple counterparts, each of which
shall be deemed an original, but all of which together shall constitute one instrument. Electronic
or fax revisions shall be deemed originals.



DATED: _______, 2022                  DEFENDANT MIDDLE TENNESSEE PIZZA, INC.

                                      Signature:

                                      By:

                                      Its:


DATED: _______, 2022                  DEFENDANT PATRICIA HOUSEMAN


                                      By:
                                              Patricia Houseman


DATED: _______, 2022                  PLAINTIFF ALVIN HAWKINS


                                      By:
                                              Alvin Hawkins




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